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13 Dec 2015




                                                                  It is great that your clout
substantially increased in their eyes! They are not going to get a reception like that in any
country (in terms of both the level of the meetings and the level of the service – the best hotel,
really the best restaurants and so on. We have “paid off” our reception in Tennessee royally!)

What about the theater, did [they] like it? How did [they] wake up, how was the flight? It all
went without any incidents?

13 Dec 2015
MB: [They] liked it very much! They all departed. Everything is great. Now they are looking
forward to our visit.

13 Dec 2015
   : God willing! ))) Alright! Need to work out the “Prayer Breakfast.” This is the next step.

13 Dec 2015
MB: We are yet to reap dividends from the outcome of this one.
You should speak in this regard at the Board of Trustees tomorrow.

13 Dec 2015
MB: We need to hold the spot. Now everyone has realized that this is a valuable contact. There
will be attempts to seize the initiative.

13 Dec 2015
    : There definitely will be! But this is not the point! To sacrifice everything on the Altar of
Fatherland! What should I talk about at the Board of Trustees? There is not much to say in regard
to our affairs!

13 Dec 2015
MB: This is the most important thing. They will seize and spoil it. You have an important
mission of reviving relationships between the two countries. It is a long game. No one else can
manage that. It is necessary to stay in charge of the initiative and you should mention casually
that you spoke there, and they spoke here. With whom [they] met. We will discuss more
tomorrow. Ch [sic] I will think about it.


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